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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                          Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )                          Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,1                             )                          Jointly Administered
                                  )
                    Debtors.      )                          Re: Docket Nos. 1180 & 1527
                                  )

      ORDER APPROVING ELEVENTH OMNIBUS MOTION OF THE DEBTORS FOR
              ENTRY OF AN ORDER AUTHORIZING THE REJECTION
       OF HAHNEMANN RESIDENT PHYSICIAN EMPLOYMENT AGREEMENTS

            Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

  debtors in possession (the “Debtors”) for the entry of an order (this “Order”) pursuant to section

  365(a) of the Bankruptcy Code, authorizing the Debtors to reject the Hahnemann resident

  physician employment agreements listed on Exhibit 1 attached hereto (the “Contracts”),

  effective as of the date specified on Exhibit 1 for each such Contract; and the Court having

  jurisdiction to consider the Motion and the relief requested therein; and due and sufficient notice

  of the Motion having been given; and it appearing that the relief requested by the Motion is in

  the best interest of the Debtors’ estates, creditors and other parties in interest; and the Court




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            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
            number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
            Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
            PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
            Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
            Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
            (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
            230 North Broad Street, Philadelphia, Pennsylvania 19102.
  2
            Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the
            Motion.



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having reviewed the Motion and considered the arguments made at the hearing, if any; and after

due deliberation and sufficient cause appearing therefor;

             IT IS HEREBY ORDERED THAT:

             1.          The Motion is GRANTED as set forth herein.

             2.          To the extent necessary, the Contracts set forth on Exhibit 1 attached hereto are

hereby rejected to the extent such Contracts are executory contracts.

             3.          Each Contract shall be deemed rejected as of the last date each HUH Resident

worked at Hahnemann.

             4.          This Order shall not be deemed to be a determination of whether any of the

Contracts are executory contracts.

             5.          To the extent that a counterparty to a Contract chooses to file a proof of claim

relating to rejection damages, such proof of claim must be filed with the Court on or before the

later of (i) thirty (30) calendar days after service of this Order and (ii) the general deadline to file

claims in these Chapter 11 Cases, as determined by the Court by separate order.

             6.          The Debtors’ rights with respect to any existing defaults of the counterparties to

the Contracts, and all defenses and counterclaims to any rejection damages claims, are hereby

preserved.

             7.          This Court shall retain jurisdiction over any and all matters arising from the

interpretation or implementation of this Order.




Dated: March 31st, 2020                                        MARY F. WALRATH
Wilmington, Delaware                                           UNITED STATES BANKRUPTCY JUDGE
                                                         -2-
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